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                           UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 MICHAEL GORCHOCK,

        Plaintiff,                                     Civil Action No. 2:17-cv-01494-DSC

        v.
                                                      Consolidated for discovery purposes with:
 FIRSTENERGY CORP., et al.,                           19-1323, 19-1324, 19-1325, 19-1329, 17-1496,
                                                      17-1497, 17-1499.
        Defendants; Third-Party Plaintiffs,

        v.

 ENERFAB, INC.,

        Third-Party Defendant.


                            [PROPOSED] PROTECTIVE ORDER

       AND NOW, this ___ day of _______________, 2022, upon consideration of FirstEnergy

Corp.’s Motion for Protective Order and brief in support, IT IS HEREBY ORDERED that

FirstEnergy Corp.’s Motion is GRANTED. Plaintiffs’ deposition of Steven R. Staub is hereby

limited to two hours in length and confined to topics relating to Plaintiffs’ negligence claims

arising from the August 2017 accident at the Bruce Mansfield coal-fired power plant located in

Shippingport, Pennsylvania. Plaintiffs may not pursue topics unrelated to their claims including,

but not limited to, topics related to the Deferred Prosecution Agreement (“DPA”) in the Southern

District of Ohio. The Court reserves the right to impose further limits during the course of the

deposition.




                                                     DAVID STEWART CERCONE
                                                     UNITED STATES DISTRICT JUDGE
